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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: CR. S-12-115-TLN
     UNITED STATES OF AMERICA,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                 Plaintiff,               ) STATUS CONFERENCE
10                                        )
           vs.                            ) Court: Hon. Troy L. Nunley
11                                        ) Time:   9:30 a.m.
                                          ) Date:   November 6, 2014
12   GERARDO CARDENA,                     )
                                          )
13               Defendant.
14

15

16         Defendant Gerardo Cardenas is charged in an eight count
17   indictment alleging violations of 21 U.S.C. §§s 841(a)(1) – possession
18   with intent to distribute methamphetamine and 21 U.S.C. 853(a) – a
19   criminal forfeiture count.     A status conference was previously set for
20   October 9, 2014.     The parties are prepared to resolve the case or set
21   a trial date at the next status conference date of November 6, 2014.
22   The parties are involved in defense investigation, as well as
23   negotiations and all parties request that the current status
24   conference be continued to November 6, 2014, at 9:30 a.m., if that
25   date is available with the Court.
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27   ///
28   ///




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 1        The parties agree that time should be excluded under 18 U.S.C. §

 2   3161(h)(8)(i) for defense preparation and under local code T4.

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 4
     Dated: October 6, 2014                Respectfully submitted,
 5

 6

 7                                       __/s/ Shari Rusk___
                                         Shari Rusk
 8                                       Attorney for Defendant
                                         Gerardo Cardenas
 9

10                                         /s/ Olusere Olowoeye
                                           Olusere Olowoeye
11                                         Assistant United States Attorney
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13
                                   ORDER
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          IT IS SO ORDERED.     The Court finds excludable time through
16
     November 6, 2014, based on Local Code T4, giving counsel reasonable
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     time to prepare.    The Court further finds that the ends of justice
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     served by granting the continuance outweigh the best interest of the
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     public and the defendant in a speedy trial.
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     Dated:   October 6, 2014
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                                    Troy L. Nunley
                                    United States District Judge
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